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10                          UNITED STATES DISTRICT COURT
11                         EASTERN DISTRICT OF CALIFORNIA
12

13
      UNITED STATES OF AMERICA,                No. 2:03-CR-0371-MCE
14
                      Plaintiff,
15                                             ORDER TO SEAL
            v.                                 DOCUMENTS
16

17    DWAYNE LAMONT SLATER,

18                    Defendant.
19
20
           Defendant’s request to seal Exhibit 4 to defendant’s June 13, 2020 motion to
21
     reduce sentence is GRANTED, and that Exhibit is to remain sealed until further
22
     order of the Court.
23
           IT IS SO ORDERED.
24
     Dated: June 16, 2020
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